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                                                         * JANUARY 27, 2023 *
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                                                         BROOKLYN OFFICE
F. #2019R00935 / OCDETF #NY-NYE-874H


UNITED STATES DISTRICT COURT                             Judge Dora Lizette Irizarry
EASTERN DISTRICT OF NEW YORK                             Magistrate Judge Vera M. Scanlon
                                        X


UNITED STATES OF AMERICA                                 INDICTMENT


       - against -                                       Cr. No.   23-CR-41
MOHAMMAD IBRAHIM BAZZI and                              (T. 18,U.S.C., §§ 981(a)(1)(C),
TALAL KHALIL CHAHINE,                                    982(a)(1), 982(b)(1), 1956(h), 3238
                                                         and 3551 et seq.: T. 21, U.S.C.,
                          Defendants.                    § 853(p); T. 28, U.S.C.,§ 2461(c); T.
                                                         50, U.S.C., §§ 1705(a)and 1705(c))
                                        X



THE GRAND JURY CHARGES:


               At all times relevant to this Indictment, unless otherwise indicated:

                                        INTRODUCTION


A.     The Defendants and Relevant Individuals and Entities


               1.      The defendant MOHAMMAD IBRAHIM BAZZI was a dual Lebanese


and Belgian citizen. Since on or about May 17, 2018, BAZZI has been publicly designated by

the United States Department of the Treasury ("Treasury Department"), Office of Foreign Assets

Control("OFAC"), as a Specially Designated Global Terrorist("SDGT")and has remained so

designated at all times thereafter.

               2.      The defendant TALAL KHALIL CHAHINE was a dual United States and


Lebanese citizen who,from in or about the late 1980s through approximately 2006, resided in

Michigan. CHAHINE was the founder, owner and operator of Restaurant #1, an entity the

identity of which is known to the Grand Jury, a Middle Eastern restaurant chain located

throughout the Detroit, Michigan metropolitan area. In or about 2006, following and in
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response to numerous personal- and business-related legal and financial problems, CHAHINE

fled the United States and has since resided in Lebanon and elsewhere.


               3.     Co-Conspirator #1 ("CC-l"), an individual whose identity is known to the

Grand Jury, was a United States citizen who resided in Michigan.

               4.     Hizballah was a foreign terrorist organization that, since the 1980s,

engaged in numerous terrorist activities, including attacks against American military members,

government employees and civilians abroad. These terrorist activities were part of Hizballah's

broader anti-American and anti-Western campaigns.

               5.     On or about October 8, 1997, the United States Secretary of State

designated Hizballah as a Foreign Terrorist Organization ("FTO") under Section 219 of the

Immigration and Nationality Act. The designation included the following aliases: Party of God,

Islamic Jihad, Islamic Jihad Organization, Revolutionary Justice Organization, Organization of

the Oppressed on Earth, Islamic Jihad for the Liberation of Palestine, Organization of Right

Against Wrong, Ansar Allah and Followers of the Prophet Muhammad.

              6.      On or about May 16, 2017,the Secretary of State amended the designation

of Hizballah to include the following aliases: Lebanese Hizballah, also known as Lebanese

Hezbollah, also known as LH; Foreign Relations Department, also known as FRD; and External

Security Organization, also known as ESO,also known as Foreign Action Unit, also known as

Hizballah ESO, also known as Hizballah International, also known as Special Operations

Branch, also known as External Services Organization and also known as External Security

Organization of Hezbollah. Hizballah remains a designated FTO.
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B.      The International Emergency Economic Powers Act


               7.      The International Emergency Economic Powers Act('TEE?A"), codified

at Title 50, United States Code, Sections 1701 et seq.. granted the President of the United States

authority to deal with unusual and extraordinary threats to the national security, foreign policy

and economy of the United States. 50 U.S.C. § 1701(a). Pursuant to that authority, the

President could declare a national emergency through Executive Orders that had the full force

and effect of law.


               8.      Pursuant to lEEPA,the President of the United States was authorized,

among other things, to "investigate, regulate, or prohibit — (i) any transactions in foreign

exchange,(ii) transfers of credit or payments between, by, through, or to any banking institution,

to the extent that such transfers or payments involve any interest of a foreign country or national

thereof,[and](iii) the importing or exporting of currency or securities[.]" 50 U.S.C.

§ 1702(a)(1)(A).

               9.      Also pursuant to lEEPA,the President had the authority to "block ... any

acquisition, holding, withholding, use, transfer, withdrawal, transportation, importation or

exportation of, or dealing in, or exercising any right, power, or privilege with respect to, or

transactions involving, any property in which any foreign country or a national thereof has any

interest by any person, or with respect to any property, subject to the jurisdiction of the United

States[.]" 50 U.S.C. § 1702(a)(1)(B).

                10.    On or about September 23, 2001, pursuant to lEEPA and other statutes,

the President issued Executive Order 13224, titled,"Blocking Property and Prohibiting

Transactions with Persons Who Commit, Threaten to Commit, or Support Terrorism," declaring

a national emergency with respect to the threat to the national security, foreign policy and
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economy of the United States posed by grave acts of terrorism and threats of terrorism

committed by foreign terrorists, including the September 11, 2001 attacks in New York,

Pennsylvania and Virginia, and the continuing and immediate threat of further attacks on U.S.

nationals or the United States.


               11.    Executive Order 13224, Section I, stated, in relevant part:

                      Except to the extent... provided in regulations, orders,
                      directives, or licenses that may be issued pursuant to this
                      order, and notwithstanding any contract entered into or any
                      license or permit granted prior to the effective date of this
                      order, all property and interests in property of the following
                      persons that are in the United States or that hereafter come
                      within the United States, or that hereafter come within the
                      possession or control of United States persons are blocked:

                                               ***




                              (c) persons determined by the Secretary of the
                              Treasury, in consultation with the Secretary of State
                              and the Attorney General, to be owned or controlled
                              by, or to act for or on behalf of those persons listed
                              in the Annex to this order or those persons
                              determined to be subject to subsection 1(b), I (c), or
                               l(d)(i) of this order;

Hizballah was listed in the Annex to Executive Order 13224.


               12.    Executive Order 13224, Section 2, stated:

                      Except to the extent required by section 203(b) of lEEPA
                      (50 U.S.C. 1702(b)), or provided in regulations, orders,
                      directives, or licenses that may be issued pursuant to this
                      order, and notwithstanding any contract entered into or any
                      license or permit granted prior to the effective date:

                              (a) any transaction or dealing by United States
                              persons or within the United States in property or
                              interests in property blocked pursuant to this order
                              is prohibited, including but not limited to the
                              making or receiving of any contribution of funds,
                              goods, or services to or for the benefit of those
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                               persons listed in the Annex to this order or
                               determined to be subject to this order;

                              (b)any transaction by any United States person or
                               within the United States that evades or avoids, or
                               has the purpose of evading or avoiding, or attempts
                               to violate, any of the prohibitions set forth in this
                               order is prohibited; and

                              (c) any conspiracy formed to violate any of the
                              prohibitions set forth in this order is prohibited.

               13.     On or about September 9, 2019, pursuant to lEEPA and other statutes, the

President issued Executive Order 13886, titled,"Modernizing Sanctions to Combat Terrorism,"

thereby amending, among other things. Executive Order 13224, Section 1, effective September

10, 2019. Accordingly, Executive Order 13224, Section 1, as amended by Executive Order

13886, stated, in relevant part:

                       (a) All property and interests in property that are in the
                       United States, that hereinafter come within the United
                       States, or that are or hereafter come within the possession
                       or control of any United States person of the following
                       persons are blocked and may not be transferred, paid,
                       exported, withdrawn, or otherwise dealt in:

                              (i) persons listed in the Annex to this order;

                                                ***




                               (iii) persons determined by the Secretary of the
                               Treasury, in consultation with the Secretary of
                               State, the Secretary of Homeland Security, and the
                               Attorney General:

                                      (A)to be owned, controlled, or directed by,
                                      or to have acted or purported to act for or on
                                      behalf of, directly or indirectly, any person
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                                      whose property and interests in property are
                                      blocked pursuant to this order;

                                     (B)to own or control, directly or indirectly,
                                     any person whose property and interests in
                                     property are blocked pursuant to this order;

                                     (C)to have materially assisted, sponsored,
                                     or provided financial, material, or
                                     technological support for, or goods or
                                     services to or in support of. . . any person
                                     whose property and interests in property are
                                     blocked pursuant to this order;

                                                 ** *




                                     (F)to have attempted or conspired to engage
                                     in any of the activities described in
                                     subsections (a)(iii)(A) through (E)of this
                                      section;

                                                 ***




                      (c) The prohibitions in subsections (a) and (b)of this
                      section apply except to the extent provided by statutes, or
                      in regulations, orders, directives, or licenses that may be
                      issued pursuant to this order, and notwithstanding any
                      contract entered into or any license or permit granted prior
                      to the effective date of this order.


C.     Global Terrorism Sanctions Regulations


               14.    Pursuant to lEEPA and Executive Order 13224, the Treasury Department,

OFAC,subsequently promulgated the Global Terrorism Sanctions Regulations("GTSR"), Title

31, Code of Federal Regulations, Part 594^s^. Among other things, the GTSR provided:

                      (a)     "Except as authorized by statutes, regulations, orders, directives,

rulings, instructions, licenses or otherwise ... property and interests in property of[SDGTs] that

are in the United States, that hereafter come within the United States, or that hereafter come

within the possession or control of U.S. persons, including their overseas branches, are blocked
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and may not be transferred, paid, exported, withdrawn or otherwise dealt in ...       31 C.F.R.

§ 594.201(a).

                      (b)     "Except as otherwise authorized, no U.S. person may engage in

any transaction or dealing in property or interests in property of persons whose property and

interests in property are blocked pursuant to § 594.201(a), including but not limited to the ...

making of any contribution or provision offunds, goods, or services by, to, or for the benefit of

any person whose property and interests in property are blocked pursuant to § 594.201(a); and ..

.[t]he receipt of any contribution or provision of funds, goods, or services from any person

whose property and interests in property are blocked pursuant to § 594.201(a)." 31 C.F.R.

§ 594.204.

                      (c)     "Except as otherwise authorized, and notwithstanding any contract

entered into or any license or permit granted prior to the effective date, any transaction by any

U.S. person or within the United States on or after the effective date that evades or avoids, has

the purpose of evading or avoiding, or attempts to violate any of the prohibitions set forth in this

part is prohibited." 31 C.F.R. § 594.205(a).

                      (d)     "Except as otherwise authorized, and notwithstanding any contract

entered into or any license or permit granted prior to the effective date, any conspiracy formed

for the purpose of engaging in a transaction prohibited by this part is prohibited." 31 C.F.R.

§ 594.205(b).

                       (e)     The term "United States Person" or "U.S. Person" included U.S.

Citizens and U.S. Permanent Residents regardless of where they live; all persons or entities

within the United States; and all entities incorporated in the United States, including any foreign
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branches or subsidiaries that are owned or controlled by U.S. entities.      31 C.F.R. § 594.315;

see also Executive Order 13224 § 3.

               15.    The defendant TALAL KHALIL CHAHINE and CC-1 were each a "U.S.


Person" as defined in the GTSR.


                         THE DEFENDANTS' CRIMINAL SCHEME


A.     Background of the Defendants' Criminal Scheme


               16.    In or about 2006, the defendant TALAL KHALIL CHAHINE lost his

ownership and control of the Restaurant #1 restaurant chain when he fied the United States and

his investment in the Restaurant #1 restaurant chain was encumbered by liens or seized by the

State of Michigan tax authorities.

               17.    Beginning in or about January 2007, the defendants MOHAMMAD

IBRAHIM BAZZI and TALAL KHALIL CHAHINE,together with others, invested

approximately $7 million to silently repurchase the Restaurant #! restaurant chain and to resume

its operations for profit(the "Secret Restaurant #1 Assets"). As part of their efforts, BAZZI and

CHAHINE secretly purchased and established a headquarters and central food preparation

facility in Dearborn, Michigan (the "Headquarters Facility").

               18.    The defendants MOHAMMAD IBRAHIM BAZZI and TALAL KHALIL


CHAHINE concealed their investments in Restaurant #1 for the purpose of shielding their assets

from creditors and potential creditors, including the United States Government and other state

and local governmental authorities.

               19.    To conceal their interests, involvement and roles as silent investors, the

defendants MOHAMMAD IBRAHIM BAZZI and TALAL KHALIL CHAHINE:(a)deposited

and caused the deposit of funds into one or more bank accounts held in the names of others who,
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in turn, used those funds to purchase one or more restaurants and properties, including the

Headquarters Facility, on their behalf;(b)created, used and caused others to create and use

specially-formed corporate entities purportedly unassociated with Restaurant #1 and the

Restaurant #1 brand;(c) caused others to own and operate the Secret Restaurant #1 Assets on

their behalf and for their benefit and to distribute profits to them; and (d)took other steps to

ensure that their names were not associated with Restaurant #rs documentation including

corporate and real estate filings.

B.     The Defendants' Criminal Conduct in Violation of lEEPA and GTSR


               20.     On or about May 17, 2018, the defendant MOHAMMAD IBRAHIM

BAZZI was designated as an SDGT by the Treasury Department, OFAC, pursuant to lEEPA,

Executive Order 13224 and the GTSR. According to a release issued by OFAC,BAZZI was

designated pursuant to Executive Order 13224, Section 1(c), for acting for or on behalf of

Hizballah, specifically,"for assisting in, sponsoring, or providing financial, material, or

technological support for, or financial or other services to or in support of, Hizballah." Further

according to the OFAC release, BAZZI "is a key Hizballah financier who has provided

Hizballah financial assistance for many years and has provided millions of dollars to Hizballah

generated from his business activities" in Belgium, Lebanon, Iraq and throughout West Africa.

               21.     As a result of the designation, the defendant MOHAMMAD IBRAHIM

BAZZI's interests in any property in the United States, or in the possession or control of U.S.

persons, including the Secret Restaurant #1 Assets and the Headquarters Facility, were blocked,

and all U.S. persons were generally prohibited from transacting business with, or for the benefit

of, BAZZI.
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                22.   Subsequent to the defendant MOHAMMAD IBRAHIM BAZZFs

designation as an SDGT,BAZZI and the defendant TALAL KHALIL CHAHINE,together with

others, conspired and attempted to evade, avoid and violate the regulations, prohibitions and

licensing requirements oflEEPA, Executive Order 13224 and the GTSR. BAZZI and

CHAHINE sought to sell and liquidate their interests in the Secret Restaurant #I Assets and the

Headquarters Facility, transfer the funds and proceeds of the sales out of the United States and

cause U.S. persons including CC-I to do the same, despite the legal prohibitions against such

transactions.


                23.   In or about October 2018, the Headquarters Facility was listed for sale.

In anticipation ofthe sale of the Headquarters Facility, the defendants MOHAMMAD

IBRAHIM BAZZI and TALAL KHALIL CHAHINE,together with CC-I, explored ways to

transfer the proceeds of the sale to BAZZI and CHAHINE though one or more third parties, such

that any such transfers would not be detected by the United States Government.

                24.   On or about October 19, 2018, the Headquarters Facility was sold for

approximately $905,000. Over the next few days, the net proceeds of the sale, approximately

$823,352.53 (the "Headquarters Facility Proceeds"), were wire transferred into one or more

accounts at a United States-based bank (the "U.S. Bank #1"), an entity the identity of which is

known to the Grand Jury.

                25.   On or about April 26, 2019, the defendants MOHAMMAD IBRAHIM

BAZZI and TALAL KHALIL CHAHINE spoke via telephone about their plans to transfer the

Headquarters Facility Proceeds outside the United States. This telephone call was placed from

within the Eastern District of New York. During the conversation, BAZZI and CHAHINE

described, in sum and substance and in part, three schemes for concealing the true nature,
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destination and beneficiaries of the transfer by transferring the funds through:(a) a third party in

China as part of a fictitious purchase of restaurant equipment from a Chinese manufacturer and

supplier, and further concealed by causing the issuance of sham invoices and receipts;(b)a third

party in Lebanon as part of a fictitious real estate purchase in Beirut, Lebanon; and (c) one or

more of CHAHINE's family members in Kuwait and elsewhere as part of one or more fictitious

intra-family loans.

               26.     In or about May 2019, the defendants MOHAMMAD IBRAHIM BAZZI

and TALAL KHALIL CHAHINE discussed a fourth scheme for concealing the true nature,

destination and beneficiaries of the transfer of the Headquarters Facility Proceeds. In sum and

substance, the funds would be transferred from the United States to Lebanon as part of a

fictitious franchising agreement as payment for the rights to operate a Lebanese-based restaurant

chain throughout the United States.

               27.     On or about May 8, 2019, the defendants MOHAMMAD IBRAHIM

BAZZI and TALAL KHALIL CHAHINE sent and caused to be sent an e-mail message to an

individual located in the United States whose identity is known to the Grand Jury. The subject

line of the e-mail read,"proforma invoi[c]e;" there was no text in the body of the message. The

e-mail included a one-page attachment dated April 22, 2019 (the "Pro Forma Invoice"), which

was purportedly issued by a Beirut, Lebanon-based company (the "Lebanese Company"). The

Pro Forma Invoice purported to be an invoice for $860,000 in "Entrance Fee[s]" for 25

"Branches" located in New York, Michigan, Washington and elsewhere throughout the United

States. The purported terms of sale stated:"The Payment of 860,000$ to be transferred to [the

Lebanese Company] bank account upon signature of main contract." The Pro Forma Invoice
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also provided purported banking information for a Lebanon-based bank account, including a

bank identifier code and international bank account number.


               28.    On or about May 14, 2019, the defendants MOHAMMAD IBRAHIM

BAZZI and TALAL KHALIL CHAHINE sent and caused to be sent another e-mail message to

an individual located in the United States whose identity is known to the Grand Jury. The

subject line of the e-mail message read "agreement" and attached to the e-mail message was a

27-page purported "Franchise and Development Agreement,"(the "Purported Franchise

Agreement"), for a subsidiary of the Lebanese Company (the "Lebanese Company-Subsidiary").

The Purported Franchise Agreement asserted that the Lebanese Company-Subsidiary "brand ...

offers a variety of Mediterranean authentic food and meals, as well as a wide selection of special

oriental spices." The Purported Franchise Agreement further purported to grant rights "to

operate an authorized master franchisee position for [the Lebanese Company-Subsidiary] in the

United States of America territory," and "to develop a specified number of[the Lebanese

Company-Subsidiary] Stores within a defined geographic area," which corresponded to the 25

"Branches" referred to in the Pro Forma Invoice. The Purported Franchise Agreement also

stated that,"[a]s consideration for the rights granted herein," $860,000 would be paid as a

"Development Fee [that] is not refundable under any circumstances."

               29.    On or about May 14, 2019, the defendants MOHAMMAD IBRAHIM

BAZZI and TALAL KHALIL CHAHINE mailed and caused to be mailed two signed hardcopies

of the Purported Franchise Agreement from Lebanon to an individual located in the United

States whose identity is known to the Grand Jury.
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               30.     On or about May 20, 2019, the hardcopy Purported Franchise Agreements

arrived from Lebanon to an international mail facility located within the Eastern District of New

York.


               31.     On or about May 22, 2019, the hardcopy Purported Franchise Agreements

departed the international mail facility located within the Eastern District of New York and were

ultimately delivered as addressed to a location in Michigan.

               32.     Since in or about May 2019, the defendants MOHAMMAD IBRAHIM

BAZZl and TALAL KHALIL CHAHINE have continued their efforts to transfer, export and

withdraw their property and interests in property, and cause one or more U.S. persons, including

CC-1, to do the same without obtaining the required licenses from the Treasury Department. As

part and in furtherance of these efforts, BAZZI and CHAHINE have continued to communicate

with one or more U.S. persons, including CC-1, via:(a) text message and other forms of

electronic communication;(b)telephone calls; and (c) written correspondence.

                                           COUNT ONE
                     (Conspiracy to Conduct Unlawful Transactions Involving
                             a Specially Designated Global Terrorist)

               33.     The allegations contained in paragraphs one through 32 are realleged and

incorporated as if fully set forth in this paragraph.

               34.     In or about and between May 2018 and January 2023, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants MOHAMMAD IBRAHIM BAZZI and TALAL KHALIL CHAHINE,together with

others, did knowingly and willfully conspire to violate, and to cause a violation of, one or more

licenses, orders, regulations and prohibitions issued under lEEPA,contrary to lEEPA, Title 50,
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United States Code, Sections 1701 ^sen.: the GTSR,Title 31, Code of Federal Regulations, Part

594 et sag.: and Executive Orders 13224 and 13886.

               (Title 50, United States Code, Sections 1705(a) and 1705(c); Title 18, United

States Code, Sections 3238 and 3551 et seq.T

                                            COUNT TWO
                      (Attempt to Conduct Unlawful Transactions Involving
                            a Specially Designated Global Terrorist)

                35.     The allegations contained in paragraphs one through 32 are realleged and

incorporated as if ftilly set forth in this paragraph.

                36.     In or about and between May 2018 and January 2023, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants MOHAMMAD IBRAHIM BAZZI and TALAL KHALIL CHAHINE,together with

others, did knowingly and willfully attempt to violate, and to cause a violation of, one or more

licenses, orders, regulations and prohibitions issued under lEEPA, contrary to lEEPA, Title 50,

United States Code, Sections 1701 et seq.: the GTSR,Title 31, Code of Federal Regulations, Part

594 et sea.: and Executive Orders 13224 and 13886.


               (Title 50, United States Code, Sections 1705(a) and 1705(c); Title 18, United

States Code, Sections 3238 and 3551 et seq.!.

                                           COUNT THREE
                                  (Money Laundering Conspiracy)

                37.     The allegations contained in paragraphs one through 32 are realleged and

incorporated as if fully set forth in this paragraph.

                38.     In or about and between May 2018 and January 2023, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the
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defendants MOHAMMAD IBRAHIM BAZZI and TALAL KHALIL CHAHINE,together with

others, did knowingly and intentionally conspire to:

                       (a)     conduct one or more financial transactions in and affecting

interstate and foreign commerce, to wit: the transfer and delivery of United States currency and

the transfer and sale of title to real property, to wit: the Headquarters Facility, which transactions

in fact involved the proceeds ofspecified unlawful activity, to wit: offenses under lEEPA, in

violation of Title 50, United States Code, Section 1705 (the "Specified Unlawful Activity"),

knowing that the property involved in such financial transactions represented the proceeds of

some form of illegal activity,(i) with the intent to promote the carrying on of such Specified

Unlawful Activity, contrary to Title 18, United States Code, Section 1956(a)(l)(A)(i), and (ii)

knowing that the transactions were designed in whole and in part to conceal and disguise the

nature, the location, the source, the ownership and the control of the proceeds of such Specified

Unlawful Activity, contrary to Title 18, United States Code, Section 1956(a)(l)(B)(i); and

                       (b)     transport, transmit and transfer monetary instruments and funds

from one or more places in the United States to and through one or more places outside the

United States, to wit: China and Lebanon,(i) with the intent to promote the carrying on ofthe

Specified Unlawful Activity, contrary to Title 18, United States Code, Section 1956(a)(2)(A),

and (ii) knowing that the monetary instruments and funds involved in the transportation,

transmissions and transfers represented the proceeds of some form of unlawful activity and that

such transportation, transmissions and transfers were designed in whole and in part to conceal

and disguise the nature, the location, the source, the ownership and the control of the proceeds of
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such Specified Unlawful Activity, contrary to Title 18, United States Code, Section

1956(a)(2)(B)(i).

               (Title 18, United States Code, Sections 1956(h), 3238 and 3551 et seq.)

                            CRIMINAL FORFEITURE ALLEGATION
                                AS TO COUNTS ONE AND TWO


               39.     The United States hereby gives notice to the defendants that upon their

conviction of either ofthe offenses charged in Counts One and Two,the government will seek

forfeiture in accordance with Title 18, United States Code, Section 981(a)( 1 )(C) and Title 28,

United States Code, Section 2461(c), which require any person convicted of such offenses to

forfeit any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly as a result of such offenses, including but not limited to:(a) Eight Hundred Twenty

Seven Thousand, Six Hundred and Ninety-Five Dollars and Eighty Four Cents ($827,695.84),

and any and all accrued interest, formerly on deposit in U.S. Bank #1 Account No.

01893565780, and all proceeds traceable thereto; and (b)Eight Hundred Thirty Three Dollars

and Four Cents ($833.04), and any and all accrued interest, formerly on deposit in U.S. Bank #1

Account No. 01382806536, and all proceeds traceable thereto.

               40.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:


                      (a)      cannot be located upon the exercise of due diligence;

                      (b)      has been transferred or sold to, or deposited with, a third party;

                      (c)      has been placed beyond the jurisdiction of the court;

                      (d)      has been substantially diminished in value; or

                      (e)      has been commingled with other property which cannot be divided

without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendants up to the value of the forfeitable property

described in this forfeiture allegation.

                (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States

Code, Section 853(p); Title 28, United States Code, Section 2461(c)).

                             CRIMINAL FORFETIURE ALLEGATION
                                      AS TO COUNT THREE


               41.     The United States hereby gives notice to the defendants that upon of their

conviction of the offense charged in Count Three, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 982(a)(1), which requires any person

convicted of such offense to forfeit any property, real or personal, involved in such offense, or

any property traceable to such property, including but not limited to:(a) Eight Hundred Twenty

Seven Thousand, Six Hundred and Ninety-Five Dollars and Eighty Four Cents ($827,695.84),

and any and all accrued interest, formerly on deposit in U.S. Bank #1 Account No.

01893565780, and all proceeds traceable thereto; and (b) Eight Hundred Thirty Three Dollars

and Four Cents ($833.04), and any and all accrued interest, formerly on deposit in U.S. Bank #1

Account No. 01382806536, and all proceeds traceable thereto.

               42.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:


                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or
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                                                                                                     18



                      (e)       has been commingled with other property which cannot be divided

without difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other

property of the defendants up to the value of the forfeitable property described in this forfeiture

allegation.

               (Title 18, United States Code, Sections 982(a)(1) and 982(b)(1); Title 21, United

States Code, Section 853(p)).



                                                                    A TRUE BILL




                                                                    FOREPERSON




  LEON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
                       Case 1:23-cr-00041-DLI Document 1 Filed 01/27/23 Page 19 of 19 PageID #: 19


F. #2019R00935 / OCDETF #NY-NYE-874H
FORM DBD-34                       No.
JUN. 85


                                             UNITED STATES DISTRICT COURT

                                                        EASTERN District of NEW YORK

                                                                CRIMINAL DIVISION


                                                THE UNITED STATES OF AMERICA



                                                         MOHAMMAD IBRAHIM BAZZI and
                                                              TALAL KHALIL CHAHINE,

                                                                                                         Defendants.


                                                                  INDICTMENT

                                   (T. 18, U.S.C., §§ 981(a)(1)(C), 982(a)(1), 982(b)(1), 1956(h), 3238 and
                                         3551         T. 21, U.S.C. § 853(p); T. 28, U.S.C. § 2461(c);
                                                    T. 50, U.S.C., §§ 1705(a) and 1705(c))




                                                                                                              Foreperson



                                   Filed in open court this                       day.

                                   of                         A.D. 20

                                                                                                                   Clerk


                                   Bail, S



                                                 Jonathan P. Lax, Francisco J. Navarro and Nomi D. Berenson
                                                           Assistant U.S. Attorneys (718) 254-7000
